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UNITED STATES DlSTRlCT COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
HENRY LEE BROWN, JR.,

Plaintiff,
v. Case No. 3:14-cv-298-HES-JRK

NCO FINANCIAL~SYSTEMS, INC.,
a foreign corporation,

Defendant.
/

Q_RM
Before the Court is the parties’ “Stipulation of Dismissal with Prejudice” (Dkt. 16, filed Jan.
5, 2015). The motion indicates that both parties stipulate to this dismissal with prejudice, and that
each party will bear its own costs and expenses, including attorneys’ fees. Id.
Therefore, it is ORDERED and ADJUDGED:
l. The above case is hereby DISMISSED with prejudice; and

2. The Clerk is directed to CLOSE this case.

DONE AND ENTERED at Jacksonville, Florida, this 72 day of January, 2015.

 

Copies to:

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Daer Marie Van Hoose, Esq.
Rachel A. Morris, Esq.

